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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
 NAVA LANIADO, on behalf of herself and all
 others similarly situated,                                             Civil Case No.:
                                                                   3:14-cv-02798-PGS-LHG
                           Plaintiff,

               -against-                                    NOTICE OF CROSS-MOTION

 CERTIFIED CREDIT & COLLECTION                                 Oral Argument Requested
 BUREAU and JOHN DOES 1-25,

                           Defendants.


       PLEASE TAKE NOTICE that on Monday, July 18, 2016, or as soon thereafter as

counsel may be heard, the undersigned attorneys for Plaintiff, Nava Laniado, will move before the

Honorable Peter G. Sheridan, U.S.D.J., at the Clarkson S. Fisher Building & U.S. Courthouse,

located at 402 E. State Street, Trenton, New Jersey, for an Order granting Plaintiff’s Cross-Motion

to Amend the Complaint pursuant to Federal Rule of Civil Procedure 15.

       PLEASE TAKE FURTHER NOTICE that Plaintiff shall rely upon the accompanying

Memorandum in Support of the Motion to Amend Plaintiff’s Complaint.

       PLEASE TAKE FURTHER NOTICE that Plaintiff hereby requests oral argument.

Dated: July 5, 2016
                                         Respectfully submitted,


                                         By:__/s/ Yitzchak Zelman______________
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                                         Nava Laniado
